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                              IN THE UNITED STATES DISTRICT
                               WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

Sable Networks, Inc. and
Sable IP, LLC,                                          Civil Action No.
                                                   6:21-cv-00261-ADA-DTG
                    Plaintiffs,

v.                                                JURY TRIAL DEMANDED

Cloudflare, Inc.,

                    Defendant.


              PLAINTIFF SABLE’S OPPOSED MOTION FOR LEAVE
             TO AMEND PRELIMINARY INFRINGEMENT CONTENTIONS
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                                        INTRODUCTION

       Plaintiffs Sable Networks, Inc. and Sable IP LLC (collectively, “Sable”) respectfully

request leave to amend Sable’s preliminary infringement contentions to substitute in and re-

assert claims 17, 18, 37, and 38 of U.S. Patent No. 8,243,593 (“the ’593 Patent”). Sable

originally asserted these claims, which depend from the currently-asserted claims 9 and 29, but

dropped them pursuant to a previous iteration of the case scheduling order, in line with this

Court’s trial-narrowing requirements. Dkt. 25. On October 18, however, the Patent Trial and

Appeal Board (“PTAB”) issued a Final Written Decision, invalidating the currently asserted ’593

claims, but finding Defendant Cloudflare, Inc. (“Cloudflare”) failed to prove claims 17, 18, 37,

and 38 invalid. As such, Sable requests leave to substitute claims 17, 18, 37, and 38 for the

previously asserted claims.

       Substitution of these four claims will not prejudice Cloudflare or unduly delay this

litigation. Even after substituting in these four claims, Sable will only have 18 asserted claims.

Moreover, by previously asserting charting these claims in this litigation, Sable put Cloudflare

on notice of Sable’s contentions. While this Court has already issued its Markman ruling, during

the IPR process Cloudflare argued that claims 17 and 18 did not require any claim construction,

and instead were subject to their plain and ordinary meaning. Cloudflare also identified function

and corresponding structure in its IPR petition for the means plus function elements of claims 37

and 38—which both Sable and the PTAB adopted. Thus, no further claim construction will be

needed in this Court. Nor will Sable seek any additional fact discovery based on the substituted

claims, and none should be necessary because substitution of these four claims should not raise

any new invalidity or non-infringement theories beyond those that Cloudflare has already

asserted. Indeed, given the PTAB’s Final Written Decision, Cloudflare is estopped from



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pursuing any new invalidity grounds in this Court that it raised— or could have raised—in its

IPR petition. As a result, the issues a jury will have to resolve regarding the ’593 Patent are

fewer than they were before the IPR proceeding resolved.

       Finally, and most importantly, addressing these four claims in this case will allow the

parties to fully resolve the present dispute in a single proceeding before this Court, without

impinging on Sable’s constitutional rights. As noted below, numerous other jurisdictions have

found good cause to amend based on similar facts. The Court should grant Sable leave to amend

its preliminary infringement contentions to substitute in and reassert dependent claims 17, 18, 37,

and 38 of the ’593 Patent.

                                   FACTUAL BACKGROUND

       This case was filed on March 15, 2021. Dkt. 1. Sable’s complaint alleged that Cloudflare

infringed four asserted patents, including the ’593 Patent. 1 Since that time, Sable has dropped

one of the four patents, leaving three total patents, including the ’593 Patent, as still asserted.

I.     Sable’s Preliminary Infringement Contentions

       Sable served its original preliminary infringement contentions in this case on June 23,

2021. Ex. 1 2 (Preliminary Contentions). In its original preliminary infringement contentions,

Sable asserted 98 claims across four patents, including the following 36 claims from the ’593

Patent: 1-14, 16-21, 25-34, and 36-41. Ex. 2 (’593 claim chart).

       Pursuant to the parties’ then-agreed proposed scheduling order (Dkt. 25 at 2), on

September 22, 2021, Sable reduced the number of asserted claims from 98 to 45. Ex. 3 (Hipskind

Email). As part of this process, Sable dropped claims 17, 18, 37, and 38 from its contentions for


1
  As noted above, one patent, U.S. Patent No. 6,977,932, has since been dropped from this case,
leaving three asserted patents remaining. Dkt. 65.
2
  Exhibits cited herein are attached to the declaration of John K. Harting, filed concurrently
herewith. Citations to that declaration are indicated by “Harting Decl.”

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the ’593 Patent. Id. The parties’ then-agreed scheduling order, which required a reduction in

Sable’s asserted claims by September 22, 2021, was drafted in line with this Court’s

requirements to substantially narrow the number of asserted claims for trial. See Dkt. 27,

Appendix A.

        Since that time, discovery has progressed, but the parties’ final contentions, including

Sable’s final infringement contentions are not due until December 9, 2022. Dkt. 157.

II.     Cloudflare’s Preliminary Invalidity Contentions

        Shortly after Sable served the complaint in this case, in April, 2021, Cloudflare issued a

$100,000 “bounty” to anyone who could identify prior art references that resulted in the

invalidation of Sable’s patents, including the ’593 Patent. Ex. 4 (CLOUDFLARE00000394).

Cloudflare later served its preliminary invalidity contentions in this case on September 15, 2021.

Ex. 5. Cloudflare’s preliminary invalidity contentions were served after Cloudflare filed its IPR

petition, but prior to Sable narrowing the asserted claims (which occurred on September 21,

2021). Thus, Cloudflare’s preliminary invalidity contentions addressed claims 17, 18, 37, and 38.

Moreover, Cloudflare relied on overlapping art in both its IPR petition and in its preliminary

invalidity contentions in this case. Compare Ex. 5, Exhibit 593-1 (invalidity contentions relying

on Yung for claims 17, 18, 37, and 38), with Ex. 6 (IPR Petition) at 17 (relying on Yung for

claims 17, 18, 37, and 38).

        Cloudflare’s final invalidity contentions are not due until December 9, 2022. Dkt. 157.

III.    Cloudflare’s IPR Petition and the PTAB’s Final Written Decision

        Between the time that Sable served its preliminary infringement contentions and the time

Cloudflare served its preliminary invalidity contentions, Cloudflare also filed its IPR petition on

the ’593 Patent. To that end, on May 7, 2021, a few weeks after putting out the above-referenced



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$100,000 prior art bounty, Cloudflare petitioned the USPTO to institute IPR on the ’593 Patent,

seeking to invalidate not just the asserted claims but instead every single claim of the ’593

Patent—including claims 17, 18, 37, and 38. Ex. 6 at 16 (“Claims 1-44 are unpatentable for at

least the reasons below”).

       In its IPR Petition, Cloudflare argued that claims 37 and 38 should be construed as

means-plus-function claims and identified corresponding function and structure. Ex. 6 at 13-14.

Cloudflare also argued that “the remaining terms of the ’593 Patent,” which would include any

terms in claims 17 and 18, “should be given their plain and ordinary meaning under Phillips.”

Ex. 6 at 12. Sable did not object to any of Cloudflare’s claim construction positions, which were

adopted by the PTAB. 3 Ex. 7 (Final Written Decision) at 8-12.

       After developing a complete record and conducting oral argument on Cloudflare’s

invalidity arguments, the PTAB ultimately invalidated the currently asserted claims (3, 9, and

29) but held that Cloudflare failed to prove claims 17, 18, 37, and 38 are invalid. Ex. 7 at 46-47.

The PTAB’s Final Written Decision issued on October 18, 2022. Id.

IV.    Claims 17, 18, 37, and 38

       Claims 17 and 18 are dependent method claims. Those claims are part of the following

chain of claims, each ultimately depending from currently asserted independent claim 9.

       9  10  11  12  17  18

Ex. 8 (’593 Patent) at 12.

       Similarly, claims 37 and 38, which are means plus function claims, are part of the

following chain of claims, each ultimately depending from currently-asserted independent


3
  While this Court’s formal Markman ruling has not yet issued, the Court held its Markman
hearing on October 3, 2022, and thereafter issued a short-form order rejecting Cloudflare’s
indefiniteness challenges to claims 9 and 29 of the ’593 Patent. Dkt. 153. Claims 17 and 18
depend from claim 9, and claims 37 and 38 depend from claim 29.

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claim 29.

        29  30  31  32  37  38

Id. at 13.

        At the time the PTAB issued its Final Written Decision, the only remaining claims from

the ’593 Patent asserted in this case were independent claims 3, 9, and 29. However, each of the

claims in the chains of dependent claims were previously asserted by Sable, prior to narrowing

its claims as required by the Court’s then-model scheduling order. Ex. 2; Ex. 3. Moreover,

claims 9 and 29 were already addressed by this Court at the Markman stage, when the Court

rejected Cloudflare’s argument that certain terms in those claims were indefinite. Dkt. 153.

V.      The Instant Motion

        Three days after the PTAB issued its Final Written Decision, on October 21, 2022, Sable

informed Cloudflare of Sable’s intent to move the Court for leave amend its preliminary

contentions to substitute in and re-assert the four valid ’593 claims. Ex. 9 (Harting Email). The

parties met and conferred on October 31, wherein Cloudflare stated its opposition to the motion,

including based on various grounds noted below. Cloudflare then provided a follow-up with

additional information on its positions on November 1 (Ex. 10), and this motion was filed three

days later.

                                     LEGAL STANDARD

        Under this Court’s Standard Order Governing Proceedings, “[a]ny amendment [of

preliminary infringement contentions] to add patent claims requires leave of court so that the

Court can address any scheduling issues.” OGP 4.2—Patent Cases, n.8. Beyond the Court’s

guidance in its OGPs, however, whether a plaintiff may amend its preliminary infringement

contentions to reassert previously asserted patent claims, in view of IPR proceedings and before



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the exchange of final infringement and invalidity contentions, appears to be an issue of first

impression in this District.

        Other district courts addressing whether to allow claims surviving patent office

proceedings to be added or substituted into a plaintiff’s amended contentions, however, have

done so upon a showing of “good cause.” See, e.g., EMED Techs. Corp. v. Repro-Med Sys., Inc.,

No. 2:15-cv-01167-JRG, 2018 WL 6440893, at *1–2 (E.D. Tex. Nov. 16, 2018) (finding good

cause to assert new claim existed where “the need to assert claim 9 only became apparent after

denial of [plaintiff’s IPR] rehearing petition”); Boston Sci. Cor. v. Cook Grp. Inc., No. 1:17-cv-

03448-JRS, Dkt. 449 at *6 (S.D. Ind. Aug. 16, 2021) (slip op.) (Ex. 13) (“[F]undamental fairness

dictates that Plaintiffs should be given [the] opportunity” to assert “additional claims . . . later

upon a showing of good cause[.]”); Corel Software, LLC v. Microsoft Corp., 2018 WL 5792323,

at *2 (D. Utah Nov. 5, 2018) (finding good cause to substitute surviving claims where plaintiff’s

motion was triggered by PTAB’s “favorable analysis of the patentability”); ZiLOG, Inc. v.

Quicklogic Corp., 2006 WL 563057, at *1 (N.D. Cal. Mar. 6, 2006) (permitting substitution of

asserted claims where the plaintiff “promptly sought leave to amend” following reexamination

proceedings).

        In applying a “good cause” standard, courts consider (1) the moving party’s diligence, (2)

the importance of the reasserted claims, and (3) whether reassertion will unfairly prejudice the

non-moving party. See, e.g., Boston Sci., No. 1:17-cv-03448, Dkt. 449 at *6; Corel, 2018 WL

5792323 at *2. Out of these factors, the moving party’s diligence often carries the most weight.

See, e.g., Boston Sci., No. 1:17-cv-03448, Dkt. 449 at*7 (“Generally, the ‘good cause’ standard

primarily considers the diligence of the moving party.”); EMED, 2018 WL 6440893 at *2.

        Moreover, where the asserted claims are impacted by a Court’s rules limiting the number



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of asserted claims allowed at trial, it is important that the Court not apply too strict a test in

analyzing whether to allow a change in the asserted claims, because limiting the number of

claims in a plaintiff’s case could render that plaintiff’s exclusive property rights meaningless,

particularly if a plaintiff is unable to re-assert claims dropped pursuant to a court’s scheduling

order. In re Katz, 639 F.3d 1303, 1311 (Fed. Cir. 2011) (a plaintiff is denied due process when a

district court’s claim selection procedure risks erroneously depriving it of its rights and the risk

outweighs the added costs associated with a substitute procedure); ZiLOG, 2006 WL 563057, at

*2 (granting motion to amend in to avoid “depriving Plaintiff of its constitutionally protected

right to an adjudication on the merits”).

                                            ARGUMENT

I.      Good Cause Exists to Grant Leave to Amend to Substitute and Re-Assert the Four
        ’593 Claims

        A.      Sable has Acted Diligently

        Sable’s instant motion satisfies the diligence factor. Diligence is measured from the time

the Final Written Decision issues, thus triggering the apparent need to amend a plaintiff’s

contentions. See, e.g., EMED Techs., 2018 WL 6440893, at *2 (granting leave to amend where

“the need to assert claim 9 only became apparent after [the conclusion of the IPR proceedings]”).

Here, Sable’s need to reassert claims 17, 18, 37, and 38 of the ’593 Patent only became apparent

after the PTAB confirmed the patentability of these four claims, while also finding the currently-

asserted ’593 claims invalid.

        The PTAB’s ruling issued on October 18. Within three days Sable provided notice to

Cloudflare that Sable would seek to amend its preliminary contentions. Sable then exchanged

correspondence with Cloudflare on the issue, and met and conferred on October 31. Harting

Decl., ¶ 5. Cloudflare provided further support for Cloudflare’s positions relevant to the instant


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motion on November 1, and Sable filed this motion three days later. Sable has acted diligently.

See Boston Sci., No. 1:17-cv-03448, Dkt. 449 at *7 (“The IPR proceedings were resolved on

January 21, 2021; by the time the case was reopened on February 17, 2021, Plaintiffs had already

informed Defendants of their intent to reassert Claim 13 via a February 8, 2021 email. Plaintiffs

then filed the instant motion to reassert on March 9, 2021.”); EMED, 2018 WL 6440893, at *1-2

(“The [court] is not persuaded that Plaintiff lacked diligence” where it sought leave to amend

almost three months after exhausting all appeals from IPR); ZiLOG, 2006 WL 563057 at *1

(finding diligence where plaintiff brought motion to amend approximately two months after

reexamination).

       B.      Reasserting the ’593 Claims is Important to Sable

       The second good-cause factor—the importance of the amendment—also weighs in

Sable’s favor because substituting in and reasserting claims 17, 18, 37, and 38 both allows the

Court to resolve the parties’ entire dispute regarding the ’593 Patent and is necessary to protect

Sable’s due process rights. See Katz, 639 F.3d at 1311-12.

       Cloudflare challenged every claim of the ’593 Patent during IPR, including each claim

asserted in Sable’s preliminary infringement contentions. Ex. 6 (Petition) at 1. Only claims 17,

18, 37, and 38 survived that challenge. While Sable had previously dropped those claims, it had

only done so with this Court’s ultimate narrowing requirements in mind. See Dkt. 27,

Appendix A. Accordingly, precluding Sable from reasserting the ’593 claims would nullify

Sable’s property rights in the ’593 Patent, as due process compels that Sable’s property rights be

adjudicated on the merits. See, e.g., Certusview Techs., LLC v. S&N Locating Servs., LLC, No.

2:13-cv-346, 2014 WL 4930803, at *5 (E.D. Va. Oct. 1, 2014) (“[T]he Court remains mindful of

the need to adequately protect [patentee’s] due process rights because requiring [patentee] to

limit the number of claims it might assert could prevent [patentee] from asserting viable,

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nonduplicative claims. Therefore, in accordance with the Federal Circuit’s decision in Katz, after

selecting its claims [], [patentee] may move the Court for leave to assert any unselected claims

upon a showing of good cause.”); ZiLOG, 2006 WL 563057, at *2 (permitting plaintiff to add

claims that survived ex parte reexamination where defendant’s arguments were “insufficient to

justify depriving Plaintiff of its constitutionally protected right to an adjudication on the merits”).

If the Court denies Sable’s motion, then the ’593 Patent would be excluded entirely from the

remainder of this litigation, despite the PTAB confirming the patentability of claims previously

identified as infringed by Cloudflare.

       The importance of the ’593 Patent is underscored by the fact that it is unrelated to the

remaining patents-in-suit (i.e., U.S. Patent Nos. 6,954,431 (“the ’431 Patent,”) and 7,012,919

(“the ’919 Patent”)), involves different inventors, and has a different specification. Moreover,

claims 17, 18, 37, and 38 present unique issues of liability and damages, as the life of the ’593

Patent extends beyond that of the ’431 and ’919 Patents. If the Court denies Sable’s request to

reassert the ’593 claims, then Sable will be unfairly precluded from recovering any damages for

Cloudflare’s past and continuing infringement of that entire patent. See EMED, 2018 WL

6440893, at *2 (“[W]ithout amendment, Plaintiff’s case would be dismissed, and Plaintiff would

lose any potential damages from alleged past infringement.”). The detriment to Sable would be

real, as the ’593 Patent expires roughly 68 and 57 months after the ’431 and ’919 Patents,

respectively. Thus, Sable’s ability to assert the ’431 and ’919 Patents does not protect it from the

loss of its due process rights if it were not permitted to assert the ’593 Patent against Cloudflare

in this litigation. See Certusview, 2014 WL 4930803, at *5.

       It would be fundamentally unfair and unduly prejudicial for Cloudflare to benefit from

the speed afforded to it in challenging all of Sable’s asserted claims from the ’593 Patent via



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IPR, while simultaneously limiting Sable to its narrowed claims in this proceeding, where

Sable’s narrowing election was made prior to the IPR outcome and agnostic to any developments

made before the PTAB. This factor weighs in favor of granting Sable’s motion to re-assert

claims 17, 18, 37, and 38.

       C.      Cloudflare Will Suffer No Prejudice if the ’593 Claims are Reasserted

       Cloudflare has been on notice of Sable’s infringement theories for claims 17, 18, 37,

and 38 since the nascent stages of this litigation. These four dependent claims were included in

Sable’s original preliminary infringement contentions, served on June 23, 2021. Ex. 2.

Cloudflare even identified allegedly invalidating art over each of the claims in its preliminary

invalidity contentions and petitioned for and litigated these claims in the IPR. Ex. 5 at 23; Ex. 6

at 17-18. Accordingly, Cloudflare cannot cry surprise or prejudice at being required to litigate

these claims further.

       Moreover, despite the progress the parties have made in litigating this case, fact

discovery is far from over with a current deadline of January 9, 2023. Dkt. 106. But as the parties

have previously noted to the Court, they are working on an updated schedule that will likely push

that date out even further. Dkt. 157 n.1. Nor has Cloudflare exhausted its allotted discovery: it

has served only 26 of its 30 interrogatories and used only about half of its total hours for

depositions of fact witnesses. See Dkt. 72; Harting Decl. ¶¶ 2-3. Cloudflare also has not yet

served Rule 30(b)(6) deposition topics, and expert discovery has not yet begun. Id., ¶ 4; Dkt. 106

(setting the close of expert discovery for March 6, 2023).

       During the meet-and-confer process, Cloudflare alleged that it would be prejudiced

because it has already served, and third parties have already responded to, numerous third-party

subpoenas including subpoenas addressing prior art. Harting Decl., ¶ 5. However, a review of

Cloudflare’s third party prior art subpoenas undermines this assertion, as none of those

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subpoenas included technical topics specific to individual elements of the ’593 claims, such as

the elements implicated by the dependent claims at issue in this motion. Ex. 11 (NetScout

Subpoena).

       Cloudflare also alleged during the meet and confer process that it would be prejudiced by

having to do additional work related to its invalidity and non-infringement positions. Harting

Decl., ¶ 5. But such additional work is not properly considered “prejudice” under the Court’s

analysis. Corel, 2018 WL 5792323, at *3 (“[T]he inconvenience and expense required by

additional discovery and briefing of the new issues does not generally rise to the level of undue

prejudice.”) (emphasis in original); Boston Sci., No. 1:17-cv-03448, Dkt. 449 at*13 (“While

there is no doubt that permitting Claim 13 to be reasserted will result in additional work for both

the parties and the Court—making this case about two patents instead of just one—this is not

‘prejudice’ in this context.”). Indeed, even if Sable were to re-assert the four ’593 claims at issue

in this motion, while also substituting out the three currently asserted independent claims, there

still would only be a total of just 18 claims in the case, well-under the 45-claim limit the parties

previously agreed to for this phase of the case. Dkt. 25-1; Ex. 12 (Hipskind Email). 4

       To that end, any incremental work regarding the substituted ’593 claims would be

inherently limited. Claims 17 and 18 depend from independent claim 9, while claims 37 and 38

depend from claim 29. Claims 9 and 29 were never dropped from the case and were the subject

of dispute during claim construction, with the Court ultimately rejecting Cloudflare’s

indefiniteness challenges to both claims. Dkt. 153. See EMED, 2018 WL 6440893, at *2 (finding

any prejudice minimized where claims at issue were dependent claims); Boston Sci., No. 1:17-



4
  After dropping claims on September 21, 2021, in line with this Court’s 45 claim limit, Sable
also later dropped additional claims from its contentions as the IPR process proceeded and
certain additional claims were disclaimed by Sable. See Harting Decl., ¶ 6.

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cv-03448, Dkt. 449 at*14 (“Claim 13 was litigated in and survived the IPR proceedings; it is not

‘prejudice’ for [Defendant] to have to litigate Claim 13 in this case.”).

       Further, as to any additional work allegedly required to address its invalidity contentions,

Cloudflare’s argument is again undermined by the IPR estoppel that attaches following the

PTAB’s final written decision. 35 U.S.C. § 315(e). Cloudflare fully challenged claims 17, 18, 37,

and 38 of the ’593 Patent in the IPR and lost. Cloudflare is thus estopped from asserting any

§§ 102 and 103 invalidity defenses that it did or reasonably could have raised in the IPR.

California Inst. of Tech. v. Broadcom Ltd., 25 F.4th 976, 991 (Fed. Cir. 2022) (“[IPR] estoppel

applies not just to claims and grounds asserted in the petition and instituted for consideration by

the Board, but to all grounds not stated in the petition but which reasonably could have been

asserted against the claims included in the petition.”); Sioux Steel Co. v. Prairie Land Mill

Wright Servs., No. 16-CV-2212, 2022 WL 4132441, at *11 (N.D. Ill. Sept. 12, 2022) (applying

Broadcom to completely preclude defendant from asserting §§ 102/103 invalidity arguments

based on prior art patents and publications following IPR). 5

       Cloudflare also suggested during the meet-and-confer process that it would be prejudiced

because the Court’s Markman process is already complete. This is wrong for two reasons. First,

Cloudflare argued in its IPR petition that claims 17 and 18 should be given their plain and

ordinary meaning (Ex. 6 at 11-14), a contention both Sable and the PTAB agreed with (Ex. 7 at

12), and which Sable agrees with for this proceeding as well. Cloudflare also identified function

and structure for each of the means plus function claim terms at issue in claims 37 and 38, as

well as the prior dependent and independent claims that claims 37 and 38 depend from. Ex. 7

at 9-11. Again, Sable agrees with Cloudflare’s position taken in its IPR petition.


5
  IPR estoppel also undermines any assertion by Cloudflare that it may be prejudiced because it
also narrowed its prior art references relied on for invalidity purposes.

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        Second, while Cloudflare previously argued at the Markman stage that certain terms from

the ’593 Patent’s independent claims were indefinite, any such arguments can also be raised at

the summary judgment stage. See Corel, 2018 WL 5792323, at *3 (granting motion to amend

final contentions where the defendant’s “ability to defend against the proposed new claims will

not be hampered.”)

        Third, substituting dependent claims 17, 18, 37, and 38 will not interject new theories

into the case. To the contrary, and beyond the fact that these claims were previously asserted,

because these four claims are dependent claims, substituting these claims in for the currently

asserted independent claims will actually narrow the scope of Sable’s existing claims. Boston

Sci., No. 1:17-cv-03448-JRS, Dkt. 449 at *10 (granting motion to amend where the new claims

would not “interject an entirely new claim into the case”).

II.     Even Under This Court’s Standard for Amending Final Contentions, Sable Should
        be Permitted to Substitute and Re-Assert the Four ’593 Claims

        As discussed above, this motion appears to present an issue of first impression in this

District: whether Sable may amend its preliminary infringement contentions to substitute in and

re-assert claims dropped pursuant to a Court’s narrowing requirements in light of after-occurring

IPR proceedings. But even applying the standard that this Court has employed when seeking to

amend final infringement contentions, Sable should still be permitted to substitute in claims 17,

18, 37, and 38.

        In assessing whether leave to amend final contentions should be granted, courts consider:

(1) explanation for failure to meet the deadline; (2) importance of the thing that would be

excluded; (3) potential prejudice in allowing the thing that would be excluded; and (4)

availability of a continuance to cure such prejudice. Epistar Corp. v. Lowe’s Companies Inc., No.

6:20-cv-00420-ADA, Dkt. 67, at *3 (W.D. Tex. Aug. 4, 2021) (slip op.) (Ex. 14) (citing


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Georgetown Rail Equip. Co. v. Holland L.P., No. 6:13-cv-366-JDL, 2014 U.S. Dist. LEXIS

198784, at *7 (5th Cir. Oct. 7, 2014). Each of these factors supports granting Sable’s motion.

        First, as explained above, Sable has not missed a final contentions deadline as that

deadline is not until December 9. Dkt. 157. Moreover, even if this factor were to be considered a

“diligence” factor, Sable diligently brought this motion following the issuance of the PTAB’s

final written decision. Sable asked Cloudflare whether it would oppose a motion to re-assert the

’593 claims on October 21, three days after the PTAB confirmed the patentability of these

claims. Ex. 9. And Sable raised this issue nearly two months before the current final contentions

deadline. Dkt. 157.

        Second, and as described above, the ’593 claims present unique liability and damages

issues, where the claims are drawn to different subject matter as compared to the ’431 and ’919

Patents, and where the ’593 patent has significant life beyond the ’431 and ’919 Patents, thus

extending the damages period of this case. See § I.B, supra. Even more, depriving Sable of the

right to re-assert the ’593 claims would deprive Sable of its due process rights regarding the ’593

Patent. Id.

        Third, as again explained above, Cloudflare would not be prejudiced by re-assertion of

claims 17, 18, 37, and 38. See § I.C, supra. Finally, if any prejudice does exist, ample time

remains to cure such prejudice, as the parties are still in the midst of fact discovery, and

Cloudflare’s claim construction arguments raised during the IPR demonstrate that any additional

constructions are unnecessary.

        Accordingly, even if the Court were to apply the standard for deciding motions to amend

final infringement contentions, Sable should still be granted leave to re-assert claims 17, 18, 37,

and 38 of the ’593 Patent. Corel Software, 2018 WL 5792323, at *2 (granting leave to amend to



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add new claims that were not previously asserted against the defendant, and after final

infringement contentions had already been served, after IPR concluded).

                                        CONCLUSION

       For the reasons, Sable respectfully requests that this Court grant Sable leave to amend its

preliminary infringement contentions to substitute in and reassert claims 17, 18, 37, and 38 of the

’593 Patent.

 Dated: November 4, 2022                      ROBINS KAPLAN LLP


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                                   Certificate of Conference

       I hereby certify that on October 31, 2022, I met and conferred with counsel for

Cloudflare (including Chris Bovenkamp, Esq.) by telephone in a good-faith attempt to resolve

the matter by agreement, and was advised that Cloudflare opposes the relief request herein.

                                                           /s/ John K. Harting
                                                           John K. Harting




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                                      Certificate of Service

      I hereby certify that on November 4, 2022, I caused a true and correct copy of the foregoing

 document, Sable’s Motion for Leave to Amend Preliminary Infringement Contentions, to be

 served via email on counsel of record.



Dated: November 4, 2022                             /s/ John K. Harting
                                                    John K. Harting




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